

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-74,261-01






DAVID SCOTT MUSGROVE II, Relator


v.


COOKE COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 06-181

IN THE 235TH JUDICIAL DISTRICT COURT FROM COOKE COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 235th Judicial District Court of Cooke County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Cooke County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art. 11.07, § 3; or stating that Relator has not filed  an
application for habeas corpus in Cooke County.  If the District Clerk submits a copy of an order
designating issues, the Clerk shall also inform this Court the date that the State was served with the
11.07 writ application.

	This application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response.  Such response shall be submitted within 30 days
of the date of this order.



Filed: July 28, 2010

Do not publish	


